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                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
      ADVANCED HAIR RESTORATION LLC,                   CASE NO. C24-0951-KKE
 8
                            Plaintiff,                 ORDER TO SHOW CAUSE
 9
             v.
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      CELLRESEARCH CORPORATION PTE
      LTD,
11
                            Defendant.
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            This matter comes before the Court on its own motion. Plaintiff filed this case on June 28,
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     2024. Dkt. No. 1. Under Federal Rule of Civil Procedure 4(m), Plaintiff must serve the complaint
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     within 90 days of filing. Fed. R. Civ. P. 4(m). No proof of service has been filed. Accordingly,
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     Plaintiff is ORDERED to show cause no later than December 23, 2024, why this case should not
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     be dismissed for failure to prosecute. If Plaintiff does not respond to this order, the Court will
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     dismiss the case without prejudice.
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            Dated this 9th day of December, 2024.
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21                                                Kymberly K. Evanson
                                                  United States District Judge
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     ORDER TO SHOW CAUSE - 1
